                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

MARY BECENTI,

              Plaintiff,
                                                                    No. 2:17-cv-01139-JB-KRS
v.

KELLY S. O’CONNELL,

              Defendant.


                   ORDER VACATING SCHEDULING CONFERENCE

       THIS MATTER is before the Court sua sponte. On January 3, 2018, this case was

reassigned to United States District Judge James O. Browning as the trial judge. In light of

Judge Browning’s preference to conduct both dispositive and non-dispositive proceedings in

those matters assigned to him, the Court will vacate the telephonic Rule 16 scheduling

conference presently scheduled for February 1, 2018, at 9:45 a.m.

       IT IS, THEREFORE, ORDERED that the telephonic Rule 16 scheduling conference

set for February 1, 2018, at 9:45 a.m. is VACATED.




                                                   ______________________________
                                                   KEVIN R. SWEAZEA
                                                   UNITED STATES MAGISTRATE JUDGE
